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                             UNITED STATES DISTRlCT COURT                       U. S. DISTRICT COURT
                                                                              EASTERN DISTRICT OF MO
                             EASTERN DISTRlCT OF MISSOURl                              ST.LOUIS
                                   EASTERN DIVISION

UNITED STATES OF AMERlCA,                 )
                                          )
      Plaintiff,                          )
                                          )
V.                                        ) No.       4:20CR00135 SRC/SPM
                                          )
LAWREN CE R. ARNO WITZ,                   )
                                          )
      Defendant.                          )

                       GOVERNMENT'S ENTRY OF APPEARANCE

       COMES NOW Jeffrey B. Jensen, United States Attorney for the Eastern District of

Missouri, and Hal Goldsmith, Assistant United States Attorney for said District, and hereby enter

their appearance on behalf of the United States.

                                                    Respectfully submitted,

                                                    JEFFREY B. JENSEN




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